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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

FUSION ELITE ALL STARS,

SPIRIT FACTOR LLC d/b/a FUEL ATHLETICS, and
STARS AND STRIPES GYMNASTICS ACADEMY INC
d/b/a STARS AND STRIPES KIDS ACTIVITY CENTGER
on behalf of themselves and al! others similarly situated,

Plaintiffs,
Vv. Case No. 2:20-cv-02600-SHL-cge
VARSITY BRANDS, LLC
VARSITY SPIRIT, LLC,
VARSITY SPIRIT FASHION & SUPPLIES, LLC,
And U.S. ALL STAR FEDERATION, INC,,

Defendants.

 

MOTION TO WITIILDRAW AS COUNSEL FOR PLAINTIFFS KATHRYN-ANNE
RADEK, JANINE CHERASARO, AND LAUREN HAYES

 

COMES NOW Frank B. Thacher, Ill, undersigned counsel for the Plaintiffs Kathryn
Anne Radek, Janine Cherasaro, and Lauren Hayes, and hereby requests permission from the
Court to withdraw as counsel of record for the Plaintiffs. Sarah Stuart and the Law Firm of
Burch, Porter & Johnson, PLLC will continue to represent the Plaintiffs in this matter.

WHEREFORE, PREMISES CONSIDERED, undersigned counsel, Frank B. Thacher, I,
hereby requests that this Court enter an Order allowing him to withdraw as counsel of record for

the Plaintiffs Kathryn Anne Radek, Janine Cherasaro, and Lauren Hayes in this matter.
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Respectfully submitted,

BURCH, PORTER & JOHNSON, PLLC

sFrank B. Thacher, II]

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CERTIFICATE OF CONSULTATION

I hereby certify that have consulted with counsel for Defendants via e-mail on July 9,
2021. Defendants do not object to the relief sought.

s/Frank B. Thacher, HI

CERTIFICATE OF SERVICE

[hereby certify that a copy of the foregoing has been sent via the Court’s electronic filing
system to all parties in this matter on this the 13th day of July 2021.

s/Frank B. Thacher, HJ
